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 6                           IN THE UNITED STATES DISTRICT COURT
 7                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 8   UNITED STATES OF AMERICA,                 )       Case №:2:15-cr-00115 TLN
                                               )
 9                  Plaintiff,                 )                   ORDER
                                               )              APPOINTING COUNSEL
10        vs.                                  )
     STEVEN KHAMKEUANEKEO,                     )
11                                             )
                    Defendant.                 )
12                                             )
                                               )
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14
            The court appointed the Federal Defender in court on June 12, 2017. The Federal
15   Defender would like to withdraw from this representation. CJA Panel attorney Ronald J. Peters,
     901 H Street, Suite 611, Sacramento, CA 95814, is hereby appointed to represent Steven
16   Khamkeuanekeo effective June 14, 2017, the date the Office of the Federal Defender first
     contacted him.
17
            APPOINTED COUNSEL IS ORDERED TO RETAIN THE SIGNED FINANCIAL AFFIDAVIT
18
     SUPPORTING APPOINTMENT.
19
     DATED: 6/14/2017
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21                                                 ____________________________
                                                   HON. EDMUND F. BRENNAN
22                                                 United States Magistrate Judge
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     ORDER APPOINTING COUNSEL
